                          Case 1:23-mj-00112-AJ Document 1-1 Filed 06/14/23 Page 1 of 2
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                    Middle District
                                                 __________         of Pennsylvania
                                                             District  of __________

                  United States of America
                             v.                                   )
                                                                  )        Case No.    4:23-CR-159-MWB
                        DENISE LODGE                              )
                                                                  )
                                                                  )
                                                                  )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      DENISE LODGE                                                                                      ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment        u Information       u Superseding Information             u Complaint
u Probation Violation Petition            u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Conspiracy (18:371), et al




Date:         06/13/2023                                                            V1LFROH55H\QROGV
                                                                                         Issuing officer’s signature

City and state:       Williamsport, Pennsylvania                             Peter J. Welsh, Clerk by N. Reynolds, deputy
                                                                                           Printed name and title


                                                                Return

           This warrant was received on (date)                        , and the person was arrested on (date)
at (city and state)                                         .

Date:
                                                                                        Arresting officer’s signature



                                                                                           Printed name and title
                          Case 1:23-mj-00112-AJ Document 1-1 Filed 06/14/23 Page 2 of 2
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                    Middle District
                                                 __________         of Pennsylvania
                                                             District  of __________

                  United States of America
                             v.                                   )
                                                                  )        Case No.    4:23-CR-159-MWB
                       CEDRIC LODGE                               )
                                                                  )
                                                                  )
                                                                  )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      CEDRIC LODGE                                                                                      ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment        u Information       u Superseding Information             u Complaint
u Probation Violation Petition            u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Conspiracy (18:371), et al




Date:         06/13/2023                                                            V1LFROH55H\QROGV
                                                                                         Issuing officer’s signature

City and state:       Williamsport, Pennsylvania                             Peter J. Welsh, Clerk by N. Reynolds, deputy
                                                                                           Printed name and title


                                                                Return

           This warrant was received on (date)                        , and the person was arrested on (date)
at (city and state)                                         .

Date:
                                                                                        Arresting officer’s signature



                                                                                           Printed name and title
